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 Of ,Y\~ti-1,~Y) by +h~ '&O'P.



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      iv.     REDVSJ:N~ A 5f) JfcNC--t UN.DtR                        11-ft. At-r
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     \'11'1/.-i 5oYJr11 en+ iIYl:P oseJ i11 t-h is .ei1se ·• a eovr+ "in e1n y case
   • • , ( /\) rtdvte +he +e n11 of i'V11J'n son meYJ +, ct Bu ton sMer i'Ylq
  +-n-e. ti,\ eA-ors se.{. forl-h in 1~ V s C• ~ 35 S.i.. (A) +o -t-ti f fX kn+
  -\-V\i'.'( Gilt °''ilf \i~ciO)e) if i -j- fi'YJd5 +ho.'t' -en fXkM.-dinAry ~nd
  UJl'Y\'\)e,)/ln9 re11igoyis vVo.ff(lln-1-_ svc.h G\ . rtdvi{-i'on; . , . i:ind Svc,~
  re.dvl'..·\-i OVl is ~ si~ h rr\- w rt-h c:1-p PII ea ble :po 1,· ey St-11-\-e.m et1-l-s
     i s?ve.d by +ht ~e.l\¼ri ti n0 Col'l'll'Y\ i 55 i on .''
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     1E;,c~ o.-Q'. "~'l' o.nd ~omj>e llin.q fto..SotlS' intlvde i (I) Medital iond,lions
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                +
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    wev Iovs ly de sc~i bed wW~rKifS, v. s · s. G. 3 111 , 1:i , Apj) J;!q-l--J QrJ
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w0i.~ 1)}rJieed ,n (!\ i c;o)cd--1'0Y1 vni+ 0incl plqced 1Y) a te.11 w,'-t-h
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+'n ir+y - Seven do.ys llnd 9IYeri +yl-enol for %-e qeh-es 11nd
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 /\\- \, i ,nt s l"\ r . beno.rd 'I'./(}. c, vn svre if- he Wo U) d -J\fC\ Kt vf
~,o>'Yl V\i"> erndii\- .bfe!\-\-hiri~ ViV\d +he CDY1s+er1-). body c:\ehis
+<"om con-t--rG1t+1·r1~ Cov,·d-1q. ~,·nee t-he fCtSSt\~e of +n-e (FSA)
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   wh f e,\1     ~m -e,v\ ded   ~ 3 5 ii
                                      w ~, ICNJ t'I de-(.er'l~r?tm- -\-o f,')e ~
  Y'Y\   o.\-,ov1 for   Comv0~5,'onl\tt ,e \~ase d,'rec+ ly vV,'i-h tht Covrtl
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 b1\td 1Y\9·        A Y\Vmbfr      <1+-   d,·s1-r,'e+s cov,15 no.{--i'oYlwlde \t)C\ve
 d-eltfVV)~Y\€ -\-hG\t 1-h-Q.    ~oli'ry S1-Vtt-emer14- :prov,·s,·oY\ '1Y10 LoV13tr
  ~,:Ys w,\-~ -\-ht S¼w+e, 11 \)",\~d ~fatts v. C~r1+v, 4d--2> f. $v.p.p,
  Jd ?J451 ;sl (s.IJ,iex-.io1q), bewvse ,-ht S1-Vtitm{?Y1i 'n~~ riot
 'o~fY\ C\M-eY\ded g,Y\C.e +ht fi~~t 5+-tv Ac+ :p UtS~ed +o re~l-e~+
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nefe '"" ftr.. v,t-k;rv1l\e 1!:J, 'E:>tV1~1d n~c;:pec+~vlly tvl~es +n~+ -\-\ti's
tovr-t- ,tdvte Y\ 1S Stvtter1 e,e +o Innvivi1'0t4-e re,,\e~~e .
                            9 )E>\, l:> s-¼.k5 +nr-te C-r;kn'li\ for~
           Tu +-vn',, v,5, c;. ~.
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toWly~\h'V\~ rt~SOY15 w'ctffl\¥1-i '\-hi rwvt.i-1'011 11 ti) +ke defer1dant
 ,~ Y"\Ot 'C\ d0tV\0er +o %-e Sa+e-+y 0~ (Any rer'.Son or +o +-he
C,,~tYWY\Vn i+r , VY\df r '\-he V<;vo_/ bc\i') tad--ors and "(3') -1--ht redvc-
                                                               I

i-\ OY) i S eonsi5ttn+ wi+n --\-~l) fOt,'ey Si-titHrY1e.-1+.' 1 Behllfd
iY\tt+s ~ \ 1 cd +-e n'G\ ,
          1 ¼.e Se~ond st-e,f ,· t3 4--o dec,de whe1--her1 1n l,'~hJ of +-hf
 -f(AC-,i-Of5 '"' l~ v.<3. [, § 365 3 (f), +-o ~r~Y\+ ~ red~/(J)r/,
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 tht ~v I) f(AY\~~ of -t0.(1,,+ors, 1'rtc lvdir'lq y('f?t SeYl-kn~e f e1-1C1bi I,¼-
 +; OY\.
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                                                                                        ,,
              \V\c 'beno.rQ tv1Vt;-\- <:>riow ,r extro.ord,'nllfy_ a.Yid compellir1~ fel'.\SOY15
         +o ~\)o.\i fy for C\ redvt!t-1'~r1. ,nese ~re, de,~r'ntd 1Y1 Apyh'Ct\t,'on ~o+e I
         0 ~ g 0.1. s. ~. ~ iY>l·\~. 1ht Note s¼+fS +na+ ' cniyi of +ne li'~+ed
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       .Tvi +\-11'tt, l!.-ase 1    iev'\oq--d re li'~s on 0rd--eri'o11 St--l- out      ,' r1   A-ppl,'C-it4--/e>n
  Note I (A') o.Y1d(b), ,, muli't0il' ~Y1d the resid0Cl/ prov1·~i'or1 f-or t( o4-htr
                                                1




   <"-ux.~on'3, )) vv'ith +ht e,h~r19er rYJC\d-e +o +h-t Se-V1"t-{V1C.e - re_dvt+,ovi
  ~+cti-v-t-e, .by +ht A.~+ 1 --t ht> \e~i') lcd---t'Yf n1a.i10ry S\io\'\16 +'r1l~J CO\J(t-S
  vH,e-d, flot o_wl>..1t C\ l'Yl0t-1'0Y1 f<or'l-1 the SOP r1or t-ha.+ 4-n-e reason~
  0\)St, {yin~ re sevd---eVJ e-1 ri 9 in vo Ive only- +he c,·(Cu 111 S'f-£;\nte s
  "rromv I q~+~J by iof, OfVlard svff=ers fn,m 'broVlehd--15 r>.nd ,'J
   -yv\.s \-ii'Wl _o.J vt1'9h n'sk' o~ dav,qer +o h,·s \1ea l+h r1iY1d 1,·vel(n1Jod
   with -\--h1·s de0tdly v1'1t>5, ,vie CDC's ~v,d~Yl~e .f-or eo,(ec+--,·on~I
  t1.Y\d 'b~t~Y\i-10fl +0i~l)i1-i'-e1 Y\CrtfS -\--'vlo.+ 1-h£ e.1'rtvrY1$i-0\V1l-e5 in yri'30rl3
  yrt<;eV11- ff '4¥11<\)Vt cn~\\ft1~€<!, for l'.ovd--rol e>t- (OV!!)- 1q, +fllYJSM1'3sion
 o.W'oY19 ~Y\e-o.r(end--ul/deJcu'vie.d '.yfr~OYl~1 st--l\((, a.Yid Vi'c?,li--o(S', ''w,+~
 \--hi ob5t(YP\"}-IOY) . i---hai ,, ~1on~i'3t61T ~:Pvl1't!01-i'oYJ 0~ speU{=ic rfl'p~-
 ,o.+--1' 0~) yrevefl"H'ort, o.Y1d W\no.gfment- rY1e"5ur-eg eavi \tlelp fedvce +he
 n·~t. Ncr1e o{ -\-n-e Cb t t)f~veY!i--t'oY1 tv1e,~svr-ernfvd-- g hqg s1--0p 't-h-e
  eoY1+.1'vivo.l ~pre0-d of tn-e Cov~1>-1 q v,·rvs,
            'Re~ Ard /f5J of- -\--h-e Y1VYnbfr t,+ Gov.ib- 1q NA)f~ q{- a.ny given
    -\.-ht1e 1 '' 1V1wi+,0¥1 ~cm syrel\d wi'~'n C\ deadly speed, '' Uni'kd S+.cd-tis
    v, Et-Z..€ I, NO, b·. )7- C.K- 000) ,ioio V, S, t,·st. LEX'.t5 77JqB, 1010 V\) L-
  ioql,4:_3 oJ*'4 (b,Or, }ll~y1,ioio1C'~e<-e tY1 ft:t v,·i1-orvi'llfil)
   i-\- -Nr;,.0;, hvY\dreds t>f e_ct~e$ ir'l vVeei..5 +..,rr1e':) A5 o-\-hi'.r eovr+s
  he\v'-€- fovnd, 1Y\YY\G\tes w;-\--vi mvl-l-i~)-e 'r'\eo.J-\-h toY\d1l-1'0YlS e,o,n
                            1                                                     11
  d~Ml?YV:itf~ 0/\ r extr°'ofdiY\Clf'( Ot1'\d Com-pe\l1'Y1~ 1 fOlSOY) V\IC{((litY\-t-1'Yl9
  ~ ,f-dvt\-i'~YI, tv'·Ol vVith ~O 00Y1ffrr11-ed C.0.~f> rYJ -+-h,e ,vtgt1'-\v{-1i,Yj
 w\i\t,~ -\--~-ey <Af-t \-\cH>sed,
        U-er~ Y\r. berw.,d '~ CHroni'e i,ond11'4--i's ) yv-\-s h i'wi £\+- 1 i'~ K
  o~ ~ v*-fl' n~ ~en·ov .5., r o<!>3 i b\y \, f.e -- -\-\t\f t'l\t en 1'v1q , l'Y\ ed,la) c.on J-e -
  %V-tY1tes if \t\~       to~o.t\-s -\-he CDv:r.:J)- \q 0; seumd t-frY\f, &,v-er1
  -\-h-t ~v\:J,,c, \G\Y1d<:>t1A~e vn neClH--h , -Yhe \,Keli hood o~ C.ovrt-1q
  ·,Y\ ,-\-'~ St~ond wa..v-e. 3yfe0td,·r19 nxyidly here i~ fet v,·~torv1·11e~l
  ~~      i-ev'\~rd'~      ,i     ~-e,   tAY\d \ib-er-\--y   ~~ rfg-K,

                                                             ~
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      A   I        (XfAA.O~l):pJ~RY ~Nl) C-OM?(;L-L!A.)b itASONS
                         E;Y~sr .IJJ 11--lt, tASG,
            ,vi-e ~,·,-s+ 5-n;p Acl \1(;l5 brOC\der1 Y)tYW tovr½ ~re.- +o eit?Lrn,'r1e
     ~:yy)1~0Jior1s i,f stvd-er1t-e redve:\--1'0Y1 VY\dtr ii v,5.e. § ?>S ~J-~)6)~\
   -:r,Y\ '\-hi'') CfA5t\ JY1r, 1ilJiY10t,d_ ,-~ °'~t,·v1~ the ~ov-r+ w ft1M>11'Y1e
   'i'\JV\-t1hfr O( Y\o,\- 11 ~xtro.orcl1i1().1y ~r1d eowfpe1l,v19 f-e.o.soY1) 11 vVl\ffa.nf
   °' 7er1ttnte-(f-dveA-1'vn bf.CtAVS~ o+: the qvr~e <And r1 '3K of CoV:!,l)-1q.
  ~ fi<;yonse 1-0 ~OV.1..)) otA-b-reCA.KS ,n tht /i1.+orv,1)t f~tili+res, on
  0\) 'Y lJ, ~C>W1 ie(l~,d mo.de, hi' s re 1tves\- for l\drr11'r1 i' ~f(~-ti'Y'{ (eJ'Yl~r
  4-o +'n-e, wosdfn. \-\..,~ vY\ctfr\,'ne Me-d1·~£Al (!ov1ch4-,i'or1 ~,tt~e h,'m
  oJ. h,·~n n·~K of eo~r1.1e:\--1'r19 tAv1d :vo~~i'b)y 31.,lttvmbi'ri~ +-o
  (:,Ov:ib- )9,                   .

           Mr· i~'r'\o,_rd ~~~ btel'I tmpn'SoY\ed >t) rv10Y1'1--h5 ; he, 1' ~
   ~~¥-.iv'\~ 1\-e Cov,+ ~ ,educe 'ni'<s fel'Y1li\1{)1n~ (pl rYlOVli-hS 4--o
   +,M-e Se(ve,d aY\d t½me Cor'\{:1¥\€'1-H'.rt t OiY\d ex\-~vt}i<'Vl of=
   ~v~rvi ')-e d ,re \-e Ot5-e ,
          nv<\ l'\~ '1,s +,me ,r1 ~o'v ~vi;toc\y , V\r. i€Y1°'rd \10.5 or1 ly 'n ad
   +i' me +-a ¼K~ °' 0?,'{IJ e,dvio.-t-1'or10.I eovrs-es ~nd dvt w +ne
  ~OY:Lt V\0.'3 '\)Vt (A\\ ff00f(AYYI            1fl1A.+ed    +rtu11S{-e() OV\   nold.    ~i:'

  Y\(\~7-tfO d,·~t i'p)i'Y1~fy 1\1(rt'Ltt/ot1S· 1/1,. i-er\~rd ht\) 'b~er-1
  °" mode\ y(1~0Y1ef, i\Y\d be.+ore +he tv1od 1l -,·ed loci dowv, he
  e,o\'\-\-ln\AC\l\y   {f\>t   'ov')y -\-hrov~\i\ D,·s     wort deJ~i'l .
       '3everlr\1 Covd-s         n~v'{   tov1dvd-td -\-kaJ dve -\-o ~evil)- ,q ovtbn~aKs
   iY\ -\--hf 'y)Q'-? -\-hf,~ {Aft "ex-kG\o(d1'Y'lo.,y omd ~O\''Y\~tlli'n~ (e01~on~ f-or
                                                                                          11


   '3tV\-+-{Y1~-e ctdvi-\-i'or15, See. VY1 ,·~d S¼tt$ Y. 'Kod ri Bve-z., er; Y¥\. A,
   tJv, 09-111) :t--D;J...O v,S, Di5-+· Lfx:r:-S 5'611~, io·io wL Hol733),
   oA- *\, lb -~ (t,1), :v~. AyL ') ioio)(~<,So11$ ~fe -\-,'Y\derbo:as for
   ,'<*ec-\-iov~ d,$~0.se, 11). AY\~            1''3   :y,e~de1y \J\/hY     +hi'~ Covr}


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 0hov\d ~,·Y\J -\-nt 1' -exk0i.ordi'V1ct(y <And 0,c,m-pe!/i'n1 rea.~ons''
 exi-\~rloYl Sli\'tlS-<=-1ed \1€rt ~~ we1!,
         ~- nJt.. i(,MAt-t.llN~ CR!Tt'RJ:A of , \B\. I~ C\(e ALSO Mt.T
             with +'f~id~4-,·~~ cw1d fear, Mr. Benard covi+e,nd.s vV1ln th-e
   ~MY 9f(tC\a of l!-Ov'.rl)-\9 thllrl- Yl~~ en{-fred tht-fvteili+-y iYl
   ~dfra. \ _torrec,{,'onQ l. +il 5-H+t>-h'on v~·~-t-ofv1ll-e :tt I) £>en~fd s ff~ex1:3t1r19
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  he~l+h ,$Sve      vvt      \1,vY\ "'--\- nigh r15K o+ svuvm.b1Y1~ to +,h,s deadly
  v1f\J$. CoM'oivH~d wi'-\-t1 \'\,1 \~u:i,~ble pri'son ree-ord, Mee+s ~he
  1' f.-Xtft'lord,V\0irr aY\d ~OM~ll,r\~ re0t<_  H,nS '1 \JV\dtY Ay'f' i~~it' OY) , N~ I (1)).
  'The secoY\d cri'{efioY), dG\nqerovgY\e~5, looK5 +-o fciie,,,+org 1Y1 I~ l).g.c,
  9 ~14~~')· See, 9 \rl>l , 1J(d-J· To-e -r0te+s 5hl?~ Mr. bff10trd wovl~
   (\C)t 'oe C\ diln~e.- +o o{hers vnd~r ih-e .5mv+e, AcrordiYl~ ly, +he
    Covr+ SVlovlq +i'Ad § , i l. 12> (j) mt-\-, ~ ~ well, BQ e.GtV5e \1 e mee{s'
   -+-V\G\t 0t-lMOG\fQ 1 \r\-e        ~t1 f~ ·-e;
                                          1
                                              1     cul reivi'rtr11er1+s o+ ~   1~1 . l~
   tl'Ylt, N, S ( ~\-'\~ ¼,kt 9>otisfoicA-i i,Y) r)f (1) 0ir1q (~") 5oti~ii?5 ~ ,1tfrioY1
  (,')'). iee.0-\\,v\~ -\-he ovt,lA1) 90G\) o+- C(1t£r10Y) (i) 1·~ -1-o cl-ecide
  ~~t-tt\~r Mr, ifvW,fd wov\d be IA dl\ngrr +o +he ~vbli~ or
  ,Y\Qiv,dvo.).
          tit<, ~i1 ~f d,~ e-on.\-i'n ,,w.) ; m~roveme~ 0r1q re r.en+. lovidvi+vtrf
     io_r «1ore ,Y'ldiCtA-\-,ve o~ his :predi00tteJ +-vtvre -\-haVJ tho~e de-I-ails
    0~ 'ntg yl>I~+ Ottt-Yl5~5. 3f'.e 'P-epp-er v. tJ ·f-e,q JHL-/-eY, 5h~ v.J,
                                                          111

   J+7lR, 1tq1 1 1~! s, Ct, ,i~q1 nq L,f.d, d---d 1Qto (i-011). rv1ofeov£r)
   ti\, . 'Q:}ef\~fQ ho.ii~ froffl Sov-tht'<Y) toJi+ofniq .l N- t' S +=~wii"ly d'(nd .
    ,CJots ,~ iV\ Svv-\-he0t~4 Lo~ AYlqeks , Y\1 ~ Dn1y drxv~hler n'~1·dfs
   1Y\ \o~ ~V\9tks, H-e htA~ Si'~n{f1'C-°'Ylt \-1'-€s
                                            1
                                                                  to
                                                                   ¼-e l-ovrtmtAni't-y
   1.V1 vf.q_w of- bo3\ toV1~1denr~--1 t?r1 1/fr1-1'n-er1+ t-o :post - ~oviv,·ti-t'on
    to\'1-H,x't O--Y\d 'ol\~ed t'>Y\ h1S tVirr.e.nt C1rtvm~i-tn1l--e~, tllr. '\jfnCtrd
   <?,f ~efl \-s N t/d D\ Y\~ €( -\-o the S~f.l+y o~ cw, y peri on or \-o
                          +
    +- h-t l!,,o mm\J Y\ i' y    1
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              T½e i ?J)ffi,-(8) t=cit,Wf5        5novv     Mr, i-eY10trd v\/ov)q v10-\- be
  o._   ~ClY\~e,r    +o ~,s          OY\   re \-ea,ge. µ.;3   c.~se i--h-erefore me-e-1-s
  o..\\ -\--hree ir,t(:flt\ vV\dfr S IB}.         )31   ~\.l~lif'(1Y19 0or ~ redve,-\-/c.,n,

  '{1.           C.onsidtra4--icm    ~     the- 1« u.s. (.§ 355, CA) ~t.\--c>cs
          No\- oV\,y    ,s Mr. 'be-V'\°'rd eli'~ib)e, {or ~ ~n1ten~e fech,tt-\'(')Y); bvt
    \)Y\d~r     s ~S5?) (Q\ °' {o.voro.ble exere-f ~e. ~ di'~~re'H·OY1 13 w~rran4-ed,
     Y\f. ien~rd ho.':> Se,rVed MDff i-hlW1 e>ne -1--hifC/ Of n1 'S SeY1t,ev1le ~nd
     h~ ,5 e)1·~1ble fo1 t-V\-l d'(v9 ~fc>~r&\m "'1'r11'e_~ w1'l) \-~Ke ~ yeo,r
    \?{=~ Yli3 Setit-e"1ee , olso wd-- h (A ye°'r e!,'9ib1'1,lt tor +-he h~lf
    --.rvC\y ¥\OV':)e 1>'v ~ '\-hf 15 d°'(' °' n'\OV1~~ ~ood -l-,'m,e e.redil t=-o(
    Yro~fv\)'Y'lt'Y\1n~ vJov\d :yv1-- YY\e ovt ,YI \q-\-e ~).I., bvi-dvt
  ¼ 'th'f COY:r.1)-)q YH~5 '1/Vt o.l! 3/lO~r~m5 DY1 'rlold, fh-e C.our+.
   S'novld toneJvde thctt- lof-\-y- CM'{ l'YlOYl{tts i~ '?>Vt+,.ll'-eY1} +i'me
  ~o ~o.-\-i'~t=y 1-he '3¼tv1--ory -pvr-po~e5 C)~ ~er11--ent1't19 e_55p-e~1·a1ly
   1Y\ '\--h-t M1d'3~, of 1--h1') p~Y\d-evn,·e, ~~y lon~er +errn i,{: iY1~r-
  cer0i.-h'oV1 wovld be ~re,0~r -\-h~n Y1tt £SS ~,f i--o Sv¼·ce for
  -\-Vl.-t y\J(yV5e5 ot- \'o v .s . e,, ~ )5~?>(Q), ,n-e Cov(+ s'hov)d
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   r es~w\-£Y\t-£ \'\ im ~ord i V\9 \y,
         l,               ond C1rcvms+'1V1lf5
                    1-lis~ry                                                      ,
         \AV)der -v~·ppens ~ +h-e v11C1s+ ,·nd,·ccd-ive ot                  ,ncl1Jde5
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   h,~ yo~+-cor1r1'cA-1'or1 ff'Co,d, As 10 +h~t hf5 -priJOY/ retord \tias
   beet1 '3'y-eY1 t yrodvr.i--if-e)y ~nJ -lid-vaJly v\/11·h~\J1 ~>1y r1e_9~-/.1y,e
   ,riri d-e.Y1+. }J)r. ?Jer1e~(d YllH veevi a mrldel 'pn'5oYJer,
          1.-\. ;e, -{-vve '\--hat "t-hi 6+-.?en~f commi'+h~d rVlore -\---h~r1 +hree         yftir~
   °'qo wa5 -tor -\--ht Pi1h-i bv+--i' e>() tH1d .St!/5 o+= Co{H-(o1 Svbfl-anfe5 (-o,
    wn ieh ht h0t', o.u-epted rtsvoncs1bi'l,l-y, ~ovJtv-t'..r, ac; +-11-e rcd-i'on~le
   o~ V£-yY:£< '3 i'nf.er~l i+ i') reeet1+ Condvc+ +hoJ n1i,re a~~und-ely fef/-ee:~s
   -\-ht  v-e
            rson ~f-ter +ht eV\G\nges o~ {-i'YY1e ~ ;+ ~nows thqJ we ~<e no+-
   5,«1-y\y +hi worst- +hit1q we \1C\v't tver doYlf.,

                                                  q
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               C oY]   r?,   i' der I ri q 4--hf e-Yl-+--r're n i\ n     9e    of" +-'ne Y1 1~     w,y           o.Y1d Qt' r~l>Wl -
   0¼V1 ~;f 5 o+=- lVi y              I    "b-eY\ Ci\ (ti s e0. $ e}
                                                      1
                                                                       rv< 1-r - Ot1-e    t'Y\ 0 rr\--h ~ I o-rp n.~ 0 Y} men l-

   ~ \} ~~ i•u·-eV\tiy ~Cl ti~ {:.i-e 3                    ti \J , s.C. § 35 53 (oi) fa) (A).
               toY19H5~                   y!A1~ed +h-e       f fr~-\-    Sn~       J\i{ § l903 \J\JV\ i' tn de~cri'bes
    -\--V\ijy, ov1'.s,cit1 ~5 11 lY1~(-etAS1Y19 -+-ht VH                                 ~Yld Tri:n13 par-u1l( or ,s
                                                                                                                        1



    v,s.~. S 358J(1!)(1) yroc-e~s. :CV\ i--he 14011J-e of 'Repr-eJ~r1-l-,d--,'{-e~ 1
   '?-~~r--e~-e,1}1'v-e · N~dl~r Y101-ed 1-})~ i-h-t 'firs+ S+e-p Att wov)d :p,ovide
    1"\€Rc;vres ~ r«rp<C7v'f +he -N'eJ~~re ot feelerC1) i'nmC1teg, Wi'}h tO'v'ib~iq,
   +-hx1 c\o~ed uY\d c,/v~ ttred envi'roYV1ent ~nd h 11 v~d-erl{i t1~ he&l) t~ 1

    ~ond ,ti ov11 Mr. 'be,n°'rd 1<3 Cl+ h (9h u '3 k for e-ontrtAt1-1·r19 ernd
   3vecuwib,nq W Coror\o,.Y1'r-v~. 'fo pn,ied- +h-e li'{e ot -+-h't' inmq-}-e,
   +hd covrf- 3hovld 9r0tr1+ ~ 3en+-eV1ef redvd-1·0Y1,
               ;_..   l>e-k rrente ttnd Yro+-ee{-t'r»1
               G,Vf\'1 Mr, ~rnrd h~.s ~ lrffJ..d( Sff Vlt                                thn~e   t\Vtd A V10/f ye-w-s               irJ
   1n'qcin       fo(         -\-he,   CV<T€--V\i-    ot=~se'           ih-.e Covr+       rY10i.y COVl'S1'd-e,r   +he        fJYHOVrli-

    t') ~   -\,iYl'\ e )r.f+ OV\ ~
                             dft-eV1d~vii 'J ~-eviitMU' ir1 dee,;'d,·r19 q                                       rr1oi-1'0Y1     For
   ~wiyf\ H, or1 C\te ,id-e o. ~ e, \JY\ 1' 1~ d S+oil--e ~ v. :PC1w Iows I<,·, qI{, 7                           f , 3d '!>J. 7,
    33l(3d t ir. ioio'). Th,·-s fs 3D bewt15f +he 1-en~+~ o~ -l--1'tt1e +he
    dfttY\d0t*t Y\~S ~lrt<Ad( Serv-ed i'~ 'n1)hl( re)-ev~r1+ +-o vJhd--her ~
     Hdvtfd ~eY1knie wl\l Sti'l/ S\1-<+i~Jen-t--)y re~)et+ ~e senov~V1e1s c,f=
    -tnt' C>fi=-el'lSe _ vnYmD{-f ff tpUJ t-o( +h-e \C{W1 p<oV1de )V~t- pVY11'.Jhmenf,
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    aJf-ora ~de%\J~t-e Of'tt{'(fYlCe +o C..ri'mirt~/ cond1Je-+, ().nd IAV01'd
     \l¼w~~rer-1-\--eJ St>Yli--eh fe d,·rp~n'-t-1'-€5 C?mon9 ck¼r1dan+f with Ji'rnilt?r
   rt eords w\\o Y\0ive been -four1d qvi'/+y ~ !1'mi \vtr ~oridvcl-. Jee /d, ;
    13 u·r; · C, f 3553 (f)(~, l?) .
           '11-€ f oor+ sh Dvld r~dv~e ~r. ienard' ~ Jen-knte +o -\---1'm-e SerYe,
   iY\ totYlb1 Y"l(l .i--1'on w i'th -+-ht txi-tY1i-l 0Yl o~ Sv.ptrv1'Ji'on tfnd ho•n-e ton -
                   1                                                      1



   ~i'Y\-eme vi4- , +hoJ wi'I) 5vr(::i~ i'-tvd--ly rt-He~J t-k-e Sfi iov1r1-eu c> 4= n,·5
    OW£v\~e ~nd th-e i\e.ed to :provide JVS+ :pvv1i'~htr1 en+, ,e ~pet-+ for +he
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    \Q\'J 1   °'vtd
                ~df-~\f.\ ~ te d~h ff,en ie . ::r:n l,'g)1 t-- of ¼ e. -f.lil ~ +hoJ ~Yl arc!    +
   n<AS IA \rea..d'{ 3erv«J .forty~or1e m ~Y11-tt5' tY\ fnJOYl ~nd n)' S i t"f?~
   medi"cd-- e fe!-ea:Se, "wto_)(:es a «1M~i'Vl~) J_i'+K'(-<:'t1Ce +-o n1·1 pvYll'.~nt'Ylen:J-,
   'bv+- -\-ht d,'~w.nivHe +o '1i'J nea.l+½ ~ovld be prof-ouYJd,
              J. Reh a.bil, t-Ot-1--i' on
         1)e,0 ,di'vlg t-o 0,,,oviti t1Ve- \Wl~,,·goYJmeri{ ~IAYlnot be bVt~ed ;Yl ~ny
                                                      1




    Vos+ 01'\ o.. '0e l,ef. ¼Oc\- ,+ wou)d °'1'de ,YJ ff\1~b\~d-ld--i'on Of
   ~,e~-\-1neV1t, See 1t\y\~ v, Vv1i-\-ta ~te~, Sb~ \),s, ·?;1q, 333 - 3Jf
   (io11J, ~ov"~eo~ftY\-\-ly1 \i \J .5, C. g 35S?>(t-')(i')(1)') 1~ °' W~"->vi ,V1
               e
   +he OVft 15 OY\0- \"(g i' ~,                           r"' \
                                            1~ ~i- 0~ ti\(, ljf.~~( a' j re~ ord rJt-
    re'v\0t 'b, \i ~C\i--l OY\ 1 +~f ~vily )~9;t-imcrt-e \))f ~i tniJ f01e.+or 1'~
     -\{) \-e<,~~Y) +hf                -Yffrv)            CJ+-   hi~ 1Mpfi'SOY)l'Y1ft1t,
              4-.         ~Y\o. Iy-z.,i "q   SeV1tvi te
         fvi regard 4-o               \S V· )·        t,
                                      g ?>SS 3 (~; (?;)--((9; tnt f ovd- 5nc,v )d COVl)idP(
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    ~ht ~t+ +hllr\- 't/lr. ~r11u--d 'i f eqf-t>{ +or 5evi-).-eY1E-e rtdvtJ-.i'ov1 r 3 bciJed
     on -t-he, fC\))1d Syceo..d ot th,·J le+)'\O,l ~DY:Lb -)q 1'YJ feden~J '.j>ri'J on
    ffA(l,i1,-t--i'es , n'~K. +o +h~ ir,m~+e '! 'net\H--h, i4'ffle - ">erved , 01Y1d
    W\f , o-tv\urd'~ «1eritov; (e,~orJ, KtSfarcn fOVl~i'rnH -4--na-/- foroY)tl-
    v'1(V~          ,<3    cltrutlf ~fld ~~t-ei-H n~ o.. ddproporlion~k ,wmbfr c>+-
                                                                    1



     ~{:ri'~o.n           ~vri-edll7lYl9 , artd thoJe w,lh vndfrl'(1'r1q 'vlealt-h cond,'{-J't1n~.
     ':5ee httyS: /1--Nww. bo~ . qov/ toro11"virvs / ;·r1dex.j3p.
                T~-t Fvr4--y-Or1e «1or1{hs 9evi~~f o. lre°'-dy                               JeNed ,·~ s\;~(/~1~nt;
      f r mlll 1Y1,'v\~ i r'\      ~vst-ody           Mcity be          d~-.l-ri'm-evi~~I to +he we!HJire ~nd vve/J-
     'o-€-iYl~ 0~           +h-e    \Y1W\O. +-e   I



              5.            tes-\-1 +-v+i'on
              'K.-€-~+v-h' vr\        w~5 (to-l--     o,d-ered in 1-he .)vd~ement, 18" v. s. [. !
    166J(1A)h1 dofl $ 1\.101-                     ~py1y , ~ee £tfiiH-3l (Avq,ct5> ~Dlq)

                                                                        11
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       J:~ \,'~\,+ of -\-he o..\ooVt, -\-he, eovr-1.                ~ 'ho1.1 \d ~nilvde -\-ha.+'
  +\\~ S~Y't-tV\t,'Y\       vY\d~, \t \J,).e,, ~   1ss~(0t11         (end.er~Y\~ c:\ny C\dd,+ioY1tft\
                        9
   ,flVJJ~tr~~o'{) qni,l\-tef     ~h°'"'   Y'\e~t-e5S~1y• eoY\Sioe,'fi~~ l'flf. '¥)eY1o.,d'5
                                                        11
  ~e/\--1 °'ord1'Y\o.<y t11'{\d tOM"?~\l,·v\9 (€G\~o'1'3 fof ~fY'i-fn~e redvd-,'on 1
   ,\-\\~ tovrt s'hov\d rfdvtf n,<; '3~ri¼n~e iY\ o.iior<l°'.V'~f with
    \% \J .c;,t. '°> ~S~j..(c1(1") ~Y\d ~ ,SS?J(l\'),
         \/11, '¥..e<Aovt'?-t tor f\y"o,fltmiv'l-r o~ f_ovr15e)
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Case 2:17-cr-20103-TLP Document 534 Filed 12/14/20 Page 13 of 14                       PageID 2510




                      CERTIFICATE OF SERVICE

  I,   Mon-he-II VJeY)~rd       , hereby certify that I have served a true and correct copy of

  the following:
  tl\o\-icm to Redve-e $eclet'lce, unclec \i u·S.e· ~ j5 ~l(c") 0)                >   Q.Yl   d first:
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  by placing in a sealed, postage prepaid envelope addressed to:
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  UniW s+~+--es]) ;~ r,e f!..o ,; r-1-                       V.~ . &\½fney Of-Fite
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  "J.t7-- federAI r>ldy .> llo1 M·MC1 /n 64-,
· Mempb1·s, TtJ. ~<o103
 And deposited in the mail at FCI Victorville, #1 .
  I declare, under penalty of perjury (Title 28 USC§ 1746) that the foregoing is true and
  correct.



  Dated this    OL          day of I1Jl{t;.,£a/sec, 2020




                                        Signature ~ , & / ~ ~
                                                      Mon~-~~~rd__~;e:,.._ci (p- 07(p
                                                      FCI Victorville, #1
                                                      PO Box 3725
                                                      Adelanto, California 92301
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